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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS

CARLEEN COULTER, individually and
on behalf of all others similarly situated,
                                                Case No. 1:23-cv-16176
                            Plaintiffs,
                                                Hon. LaShonda A. Hunt
v.

HUDSON GROUP (HG) RETAIL, LLC,
D/B/A HUDSON NONSTOP and
DUFRY AMERICA, LLC

                            Defendants.


         RESPONSE IN OPPOSITION TO HUDSON’S MOTION TO DISMISS
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                                   I.      INTRODUCTION

       Plaintiff Carleen Coulter has established plausible Illinois’ Biometric Information

Privacy Act (“BIPA”) claims. Hudson’s1 Nonstop stores in Chicago Midway and O’Hare

Airports rely on Amazon’s Just Walk Out (“JWO”) surveillance network that takes images

of shoppers’ bodies, scans their facial geometry, hand geometry, and their voice prints to

track their movements, and then automatically charges them for selected convenience store

items. Neither Hudson nor Amazon ever secured the informed consent required by BIPA to

collect such data. Nor do Hudson or Amazon detail their retention and destruction

protocols for the biometric data they collect, use, and disseminate, as BIPA requires.

       Hudson asks this Court to broadly interpret the government contractor exemption to

BIPA to immunize itself from liability for unlawfully collecting biometric data,2 despite

merely being a private airport retail tenant occupying spaces in City-owned terminals. As a

for-profit retail tenant that pays rent and fees under standard real estate principles, Hudson

cannot plausibly claim to be “working for” the City as a contractor, subcontractor, or legal

partner under BIPA. Indeed, its agreement with the City explicitly disavows that

relationship. Under Hudson’s radical reimagining of BIPA’s government contractor

carveout, similar airport retail tenants, like Big Bowl, Tallboy Taco, and Garrett’s Popcorn,

would be exempt from BIPA’s rules and restrictions simply because they have any sort of

contract with a government agency. BIPA’s “government contractor” exemption does not



       1
           “Hudson” refers to Defendants Hudson Group (HG) Retail and Dufry America,
LLC.
       2
         “Biometric data” includes both biometric identifiers, like facial or hand geometry,
and voiceprints, as well as biometric information, which includes the data output from an
analysis of biometric identifiers.

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protect private businesses like Hudson, which operate for private profit and do not carry out

a governmental function, let alone a function that requires them to collect biometric data.

Hudson pays the City for the privilege to operate at its airports and has no genuine basis to

claim the “government contractor” exemption from BIPA.

       The Court should reject Hudson’s motion to dismiss in its entirety.

                             II.    PLAINTIFF’S ALLEGATIONS

       In Chicago’s Midway and O’Hare International Airports, Hudson employs

Amazon’s JWO technology to collect, use, store, and disseminate travelers’ biometric data.

(Compl. ¶¶ 23-37). Specifically, the Amazon JWO patent application for the biometric

technology that Hudson’s Nonstop stores rely upon, attached as Exhibit A to the Complaint

(referenced herein as “Ex. A”), US 2015/0012396 A1 (“the ‘396 Patent”), describes

overhead recognition cameras that “capture images of users and/or locations within the

materials handling facility,” including their facial geometry (Compl. ¶¶ 24, 30; Ex. A at

¶ 31). Additionally, cameras are positioned at inventory shelves and transition areas to

“capture images,” such as “a user’s hand” interacting with items for sale, in which images

collected contain shopper hand geometry and are scanned for identification. (Compl. ¶¶ 27-

30, 32; Ex. A at ¶ 31). Microphones are placed throughout the store to “record sounds made

by the user” and collect voiceprints (Compl. ¶ 31; Ex. A at ¶ 54).

       After collecting biometric data, the JWO technology employs computer algorithms

to analyze the images collected from Hudson Nonstop store cameras and captures

undisclosed measurements from images that contain shoppers’ bodies, including their faces

and hands, as well as the distinctive features of voice recordings. (Compl. ¶¶ 24-37; Ex. A at

¶¶ 28, 35, 38, 52). These algorithms “identify a user” from their biometric identifiers and



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“determine the location of the user” as they move throughout the store. (Compl. ¶¶ 31; Ex.

A at ¶¶ 28, 35, 38, 52). Additional cameras, sensors, and algorithms are leveraged to detect

when products are taken off shelves and placed in a “virtual cart” associated with the user.

(Compl. ¶ 3; Ex. A at ¶ 43, Fig. 2). As a shopper exits the store, as identified by proprietary

cameras, the items in the traveler’s virtual cart are charged to their account or credit card

“without having to stop or otherwise be delayed” at a register (Compl. ¶ 35; Ex. A at ¶ 17).

       Hudson never provides travelers with a written disclosure about its biometric data

collection practices before obtaining their data. (Compl. ¶¶ 38-40, 43). Hudson never obtains

informed written consent to store, use, and disseminate the biometric data. (Compl. ¶¶ 41-

42). Hudson never tells shoppers it profits from shoppers’ biometric data by operating JWO

technology in its Nonstop stores to effectuate sales of goods and minimize labor costs.

(Compl. ¶ 44). Further, Hudson discloses individuals’ biometric data to Amazon’s servers

and cloud platforms (a third party) to process transactions without shoppers’ consent

(Compl. ¶¶ 41-42; Ex. A at ¶¶ 13, 47, Fig. 9).

                                   III.   LEGAL STANDARD

       A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint,

not its merits. Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990)). The Court must

accept the factual allegations in the Plaintiff’s Complaint as true and view the facts in the

light most favorable to the Plaintiff. Landmark Am. Ins. Co. v. Deerfield Constr., Inc., 933 F.3d

806, 809 (7th Cir. 2019). A claim is plausible “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Sosa v. Onfido, Inc., 600 F. Supp. 3d 859, 867 (N.D. Ill. 2022) (citing

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “[A]ll this means is that the plaintiff must include



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enough details about the subject-matter of the case to present a story that holds together. At

this pleading stage, [the court] do[es] not ask whether these things actually happened;

instead, the proper question to ask is still could these things have happened.” Norberg v.

Shutterfly, Inc., 152 F. Supp. 3d 1103, 1105 (N.D. Ill. 2015) (quoting Runnion ex rel. Runnion

v. Girl Scouts of Greater Chi. & Nw. Ind., 786 F.3d 510, 526 (7th Cir. 2015)) (emphasis in

original). After discovery, “[a] full description of the facts that will prove the plaintiff’s claim

comes later, at the summary-judgment stage or in the pretrial order.” Chapman v. Yellow Cab

Coop., 875 F.3d 846, 848 (7th Cir. 2017).

                                       IV.     ARGUMENT

       A.      Hudson is a retail tenant, not a government contractor, subcontractor, or
               legal partner “working for” the City and is thus not exempt from BIPA.

       Hudson’s attempt to claim an exemption under BIPA as a contractor “working for”

the City of Chicago is baseless. See Hudson’s Motion to Dismiss the Complaint (“Motion”),

at 5-8. Hudson asks this Court to endorse a new interpretation of BIPA that would convert

all retail tenants in Chicago’s airports into businesses “working for” the government that are

exempt from BIPA. Id. But Hudson’s position runs contrary to BIPA’s plain language,

precedent, and Hudson’s airport retail license with the City.

       Hudson’s argument defies logic and law: having a retail license agreement to operate

shops within City-owned airports does not transform a private business into a government

contractor carrying out a public function, nor exempt it from BIPA. Hudson, like other

airport concessioners, is an airport retail tenant. Like any retail arrangement between stores

in a strip mall and the mall’s owner, Hudson pays rent and fees to the City to conduct its

business from its licensed retail space within the City-owned airport terminals. The

company is in no way a contractor, subcontractor, or agent “working for” the City of

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Chicago or any other City or State agency and performs no governmental function for

which its collection of biometric data is exempt.

       BIPA provides an exemption for government contractors “working for” the

government when they collect biometric data. 740 ILCS 14/25(e). BIPA does not define

“contractor, subcontractor or agent[.]” Id. “[T]he court must give effect to every word,

clause, and sentence in a statute and must not read it to render any part inoperative,

superfluous, or insignificant. When giving effect to the legislature’s intent, courts look to the

plain and ordinary meaning of the statutory language; courts also construe the statute

holistically and may consider the reason for the statute and the consequences of interpreting

the statute in a certain way.” Davis v. Jumio Corp., 22-CV-00776, 2023 WL 2019048, at *5

(N.D. Ill. Feb. 14, 2023) (citations and quotations omitted).

       There is no need for complex statutory interpretation in this case. Hudson’s Retail

Agreement makes clear the company is not a contractor, subcontractor, or agent of the City.

The City and Hudson maintain a traditional landlord (“licensor”) - tenant (“licensee”)

relationship: “The City grants Licensee [Hudson] a license to (i) conduct Concession

Operations. . . in the Retail Space. . . subject to the terms of this agreement.” ECF 24-8

(“Retail Agreement”) at 19 (§ 4.1, “Rights and Obligations of Licensee”). “In consideration

of the City’s grant of the license to use and operate its Concession Operations in the

Licensed Space. . . Licensee must pay to the City. . . Fees in an amount equal to Additional

Fees. . . plus the greater of: (a) the Percentage Fees payable. . . and (b) the Minimum

Guarantee Fee[.]” ECF 24-8 at 41 (§ 7.1, “Fees”).

       Nowhere within Hudson’s Retail Agreement does the City recognize Hudson as a

legal partner, contractor, subcontractor, or agent or categorize Hudson as “working for” the



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City in any way. See generally, ECF 24-8. The City specifically disclaims such a relationship:

“nothing in this Agreement creates or establishes any partnership, joint venture, association

or organizations of any kind between the City and Licensee or to make Licensee the

representative, employee, partner or agent of the City for any purpose whatsoever.” Id. at 76

(§ 12.17, “Relationship of Parties”). “Nothing contained in this Agreement is intended to

create or establish any relationship other than that of licensor and licensee[.]” Id. In fact,

rather than entering a legal partnership, contractor, subcontractor, or agent relationship with

Hudson to assist the City in the operation of airports, the City required Hudson to agree not

to interfere with its operation of them. Id. (§ 12.16, “Non-Interference with Operation of

Airport”). On this basis alone, Hudson is not exempt from BIPA’s regulatory scheme,

certainly not at the motion to dismiss stage.

       Notwithstanding the plain terms of its agreement, the very cases Hudson cherry-

picked to claim exemption as a government contractor, Enriquez v. Navy Pier, Inc., 2022 IL

App (1st) 211414-U, ¶ 1, appeal denied, 201 N.E.3d 582 (Ill. 2023), and Thornley v. CDW-

Government, LLC, Case No. 2020 CH 04346 (Ill. Cir. Ct. June 25, 2021) (attached to

Hudson’s motion as ECF 24-11, “Thornley Opinion and Order”), undermine its argument by

demonstrating that Hudson fails to meet the criteria for the government contractor

exemption. See Motion at 7-8. Together, these cases interpret the government contractor

exemption as applying only to those entities that “work for” a government agency by

performing governmental functions or by carrying out a government agency’s directives

regarding biometric data. Hudson meets neither criterion.

       In Enriquez v. Navy Pier, Inc., the court examined whether non-profit Navy Pier, Inc.

(“NPI”) qualified as a government contractor exempt from BIPA under its agreement with


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the Metropolitan Pier and Exposition Authority (“MPEA”). 2022 IL App (1st) 211414-U,

¶ 8. The agreement between MPEA and NPI “transferred operational responsibility for

Navy Pier to NPI” and gave NPI “exclusive authority” over all aspects of Navy Pier’s

operations at NPI’s expense. Id. at ¶ 10. “[T]he underlying substance of the Agreement is for

NPI to manage, operate, and develop virtually all aspects of Navy Pier on behalf of the

MPEA.” Id. at ¶ 22. The court determined that NPI performed key governmental services

on behalf of MPEA pursuant to its agreement, making it a government contractor. Id. The

court found that NPI’s collection of biometric data via fingerprint scan when an employee

clocked in and out of work was “within the scope of its work for the MPEA” as a

government contractor tasked with operating Navy Pier. Id. at ¶ 25.

       Unlike NPI’s agreement with MPEA, which transferred comprehensive operational

control to NPI, Hudson does not perform governmental services on behalf of Midway Airport,

and, therefore, is not a contractor exempt from BIPA.3 Hudson rents retail space to “conduct

Concession Operations,” sell convenience items to travelers, and “pay[s] to the City. . . Fees”

in return. ECF 24-8 at 19, 41. Hudson points to no provision in its agreement with Midway




       3
         The three-part “test” Hudson cites to assess contractor status for BIPA exemption
requires an entity to be (1) a contractor (2) of a government unit (3) working for that unit
when collecting biometric data. Enriquez, 2022 IL App (1st) at ¶ 19. First, the Retail
Agreement explicitly defines Hudson as a “licensee,” stating “[n]othing contained in this
Agreement is intended to create or establish any relationship other than that of licensor and
licensee between the City and Licensee.” ECF 24-8 at 76. The City granted Hudson a
“license to (i) conduct Concession Operations in accordance with the Permitted Use solely
in the Retail Space.” ECF 24-8 at 19. In return, Hudson pays rent and fees to the City but
provides no governmental services or “work” for the City. Id.; Enriquez, 2022 IL App (1st) at
¶¶ 22-23. Hudson thus fails the Enriquez test as it is not a contractor of a government unit
working for that unit when collecting biometric data. Id. at ¶ 19.


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Airport that in actuality expands the parties’ relationship “beyond the typical landlord-tenant

relationship.” Enriquez, 2022 IL App (1st) 211414-U at ¶ 24.4

       The relationship between Hudson and Midway Airport is also distinguishable from

the government contractor relationship in Thornley v. CDW-Government, LLC. In Thornley,

the Chicago Police Department (“CPD”) contracted with defendant CDW-Government

(“CDW-G”) to obtain a price quote from non-party Clearview AI for access to its facial

recognition database, which CDW-G did at the CPD’s direction and which CPD agreed to

pay. Thornley Opinion and Order, at 1-3. CDW-G then secured access to the facial

recognition database for CPD and delivered it electronically to CPD. Id. The plaintiffs sued

CDW-G for its role in the sale of the facial recognition database to CPD. Id. Relying in part

on the agreement between CDW-G and CPD, the court found that CDW-G was “working

for” a government entity when it carried out the transaction because it was specifically

“engage[d] to furnish materials or provide services concerning biometric identifiers” by

procuring the Clearview AI database. Id. at 3-6. That background stands apart from

Hudson’s retail license. Id. at 1-5. Unlike the defendant in Thornley, Hudson does not

provide a government service or collect biometric data “at a government agency’s request

and direction,” and thus cannot claim protection under the government contractor

exemption. Thornley Opinion and Order, at 4.



       4
         Hudson claims a partnership with the City as a government contractor for airport
renovations, allowing it to escape BIPA’s restrictions. But the Midway Retail Agreement
states otherwise and Hudson provides no contract establishing legal partnership in the
Midway Modernization program. Companies like Hudson “have a great incentive to
describe circumstances in ways that escape the explicit terms of their contracts.” Bye v.
Nationwide Mut. Ins. Co., 733 F. Supp. 2d 805, 817 n. 7 (E.D. Mich. 2010) (rejecting attempt
to rewrite contract in insurance dispute).


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       This distinction aligns with the policy behind BIPA’s § 25(e) exemption. The Illinois

legislature exempted government contractors like NPI and CDW-Government from BIPA

by recognizing they assist the government in carrying out public services that do not

implicate the same profit motives that incentivize for-profit corporations, like Hudson, to

wrongfully exploit biometric data. Bryant v. Compass Group USA, Inc., 503 F. Supp. 3d 597,

601 (N.D. Ill. 2020) (explaining that “government agencies have no profit motive to exploit

individuals’ biometric information, so the perceived dangers associated with possession of

sensitive information are less severe vis-à-vis government agencies and contractors subject to

their supervision.”); Haywood v. Flex-N-Gate LLC, No. 19 CH 12933, 2021 WL 8368185, at

*4 (Ill. Cir. Ct. Apr. 08, 2021).

       Hudson’s attempt to equate its biometrically-enabled retail sales at Chicago airports

to a government contractor collecting (or assisting in the collection of) biometric data for a

government purpose misconstrues the statute, relevant precedent, and Hudson’s airport

license establishing a tenant-landlord relationship. Indeed, it is precisely the “attendant risks

and dangers. . . posed by the private sector’s growing use of biometrics to facilitate financial

transactions,” like Hudson’s use of JWO technology, that served as the impetus for the BIPA

legislation. See Thornley Opinion and Order, at 4 (emphasis added); see also 740 ILCS

14/5(b). BIPA’s government contract exemption was not meant to and does not apply to a

private retailer like Hudson. 5


       5
          To the extent Hudson argues that Plaintiff lacks standing to bring BIPA claims
related to the O’Hare Airport location, Hudson wrongly conflates Article III standing and
class certification. See Motion at 8 n 6. It is undisputed that Plaintiff has individual standing
to pursue claims regarding Hudson’s BIPA violations at Midway Airport. Whether she can
represent a class pursuing claims related to a location she did not visit is a question for class
certification under Rule 23. See Arreola v. Godinez, 546 F.3d 788, 795 (7th Cir. 2008) (“In our
view, it is best to confine the term ‘standing’ to the Article III inquiry and thus to keep it

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       B.      Hudson violates BIPA by operating JWO at its airport stores in Illinois.

       BIPA prohibits private entities from collecting, using, storing, or disseminating

“biometric identifier[s]” or “biometric information” without notice and consent. 740 ILCS

14/15. A “[b]iometric identifier” is “a retina or iris scan, fingerprint, voiceprint, or scan of

hand or face geometry.” 740 ILCS 14/10. “Biometric information” means “any information

. . . based on an individual’s biometric identifier used to identify an individual.” Id.

            1. Plaintiff’s Complaint states a claim under § 15(a) of BIPA: Hudson lacks a
               publicly available retention and deletion policy.6

       Section 15(a) of BIPA provides that “[a] private entity in possession of biometric

identifiers or biometric information must develop a written policy, made available to the

public, establishing a retention schedule and guidelines for permanently destroying

biometric identifiers and biometric information. . . .” 740 ILCS 14/15(a). The biometric

data must be permanently destroyed “when the initial purpose for collecting or obtaining

such identifiers or information has been satisfied or within 3 years of the individual’s last

interaction with the private entity, whichever occurs first.” 740 ILCS 14/15(a).




separate from the plaintiff’s entitlement to relief or her ability to satisfy the Rule 23
criteria.”); Payton v. Cnty. of Kane, 308 F.3d 673, 677 (7th Cir. 2002) (cautioning parties
against “conflating the standing inquiry with the inquiry under Rule 23 about the suitability
of a plaintiff to serve as a class representative[.]); Powell v. Shiseido Americas Corp., No. 21-
CV-2295, 2022 WL 19914948, at *6-8 (C.D. Ill. Aug. 22, 2022) (rejecting argument that
plaintiff did not have standing to pursue BIPA claims related to websites she never visited
because it conflated Article III standing with class certification).
       6
         This case was consolidated before Your Honor as a related case with Van Housen, et
al. v. Amazon.com, Inc., et al., Case No. 1:23-cv-15634, another BIPA case premised upon
Amazon’s use of JWO technology. Amazon.com, Inc. is represented by the same defense
counsel as Hudson and raised similar technological arguments about JWO’s biometric data
collection, use, storage, and dissemination, which are fulsomely addressed in the Plaintiffs’
Response in Opposition to Amazon’s Motion to Dismiss. See ECF 33.

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       Plaintiff has alleged that Hudson collects and uses biometric data and does not

provide a publicly available retention schedule. Compl. ¶ 43. Hudson doesn’t argue

otherwise; thus, Plaintiff pleads a Section 15(a) claim that Amazon lacked (and continues to

lack) a compliant public biometric data retention policy.

            2. Plaintiff’s Complaint states a claim under § 15(b) of BIPA: Hudson never
               obtained her written informed consent before collecting biometric data.

       Section 15(b) requires private entities to obtain written permission before collecting

or obtaining someone’s biometric data and must inform the person in writing that biometric

data is being collected and stored, the specific purpose and period for which it will be used,

and receive a written release from the person consenting to this collection and use. 740

ILCS 14/15(b). As Plaintiff alleges, JWO technology uses a network of cameras to capture

images of shoppers’ bodies, including images of their faces and hands, and microphones to

record customers’ voices and then employs propriety algorithms—to scan and measure

facial geometry, hand geometry, and identify voice characteristics—to pinpoint identity,

what they select in the store, and effectuate checkout. Compl. ¶¶ 22-40. Plaintiff asserts that

Hudson never provided shoppers with the required written disclosures about its collection,

use, storage, and dissemination of their biometric data, nor obtained mandated signed

releases. Compl. ¶¶ 12, 38-40. These allegations state a plausible claim under Section 15(b)

that Hudson lacked the requisite consent to collect and use biometric data.

            3. Plaintiff’s Complaint states a claim under § 15(c) of BIPA: Hudson
               profited from her biometric data.

       Section 15(c) of BIPA makes it unlawful for any “private entity in possession of a

biometric identifier or biometric information” to “sell, lease, trade, or otherwise profit from

a person’s or a customer’s biometric identifier or biometric information.” 740 ILCS



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14/15(c). Hudson collected the Plaintiff’s biometric data through Amazon’s proprietary

hardware, which was then scanned and processed by Amazon’s proprietary software to

extract biometric data like facial geometry and voiceprints to identify shoppers, track their

movements and item selections, and then automatically charge for items upon exit. Compl.

¶¶ 22-40, 44; Ex. A at ¶¶ 28, 31, 35, 38, 52, 54. Hudson profits from store purchases enabled

by JWO technology. Compl. ¶ 44. “JWO technology enables Hudson with an advanced

solution for in-store management with minimal human labor costs. Inherently, by using

JWO in its stores, Hudson is profiting from the collection, use, storage, and dissemination

of every JWO shopper’s data.” Id.7

            4. Plaintiff’s Complaint states a claim under § 15(d): Hudson disclosed
               biometric data without her written informed consent.

       Section 15(d) of BIPA makes it unlawful for private entities to disclose, redisclose, or

disseminate a person’s biometric data without first obtaining that person’s informed written

consent, with few exceptions inapplicable here. 740 ILCS 14/15(d). Plaintiff alleges that

Hudson discloses customers’ biometric data to “computing resources” external to Hudson,

including Amazon servers and other third-party servers and cloud platforms for computer

processing, wherein Amazon then employs an algorithm to scan and extract geometry and

other distinctive voice attributes for shopper identification on a computer platform external

to the store itself. Compl. ¶¶ 22-42; Ex. A at ¶¶ 13, 47, Figs. 2 & 9. This dissemination of


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         Hudson argues that Plaintiff’s Section 15(c) claim fails because BIPA, as “a general
rule” “prohibits the operation of a market in biometric identifiers and information,”
Thornley v. Clearview AI, Inc., 984 F.3d 1241, 1247 (7th Cir. 2021). See Motion at 4, 14-15.
However, the Seventh Circuit in Thornley acknowledged private entities can unlawfully
profit under BIPA in many ways, e.g., the sale of biometric data, or “scraping” data from
websites. It is axiomatic that profiting from the sale of goods enabled by biometric
collection, use, storage, and dissemination would qualify as “otherwise profit[ing]” from a
“a customer’s biometric identifier or biometric information.” 740 ILCS 14/15(c).

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biometric data occurs without first obtaining written informed consent from shoppers.

Compl. ¶¶ 38-40. By disregarding BIPA’s biometric data disclosure protections, Hudson

commits the substantive privacy violations Illinois’s statute aims to prevent. Id. Plaintiff has

stated a Section 15(d) violation based on Amazon’s patent explicitly describing the

dissemination of obtained biometric data to “computing resources” external to Hudson.

       C.     Hudson’s Unsubstantiated and Untested Technological Claims Must Be
              Rejected.

       Hudson asserts that “Plaintiff merely speculates” that Amazon’s ‘396 Patent relates

to the JWO technology Hudson employs. Motion at 10. Yet the detailed allegations in the

Complaint, taken as true, render it reasonable to infer a relationship between the processes

described in Amazon’s patents and Hudson’s JWO technology. Specifically, the ‘396 Patent

describes a surveillance system placing cameras and sensors throughout a retail facility to

capture images of customers, employs a proprietary biometric-based recognition software to

identify those customers, track their movements picking up and returning items, and

automatically charge their account upon exit without needing to check out. Compl. ¶¶ 22-

37; Ex. A ¶¶ 28, 31, 43, 52-54. This patented process closely mirrors how Hudson’s JWO

technology functions as alleged. Compl. ¶¶ 22-44. The consistent technical descriptions

support a reasonable inference that Amazon’s patented biometric tracking system relates to

the one Hudson employs, and Hudson identifies no other patents that purportedly cover the

proprietary JWO technology. Hudson may ultimately show the systems differ in their final

implementation, but at the pleading stage, Plaintiff needs only a basis to allege that JWO

plausibly collects biometric data as described in the patent. Norberg, 152 F. Supp. 3d at 1105.

Once alleged and supported with an adequate, good faith basis, Plaintiff’s allegations must

be accepted as true at the pleading stage. Landmark, 933 F.3d at 809.

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       Hudson further argues that “Plaintiff’s own allegations are inconsistent with the

assertions that JWO technology captures [biometric data],” relying on various

unsubstantiated claims about the scope and abilities of the JWO technology. Motion at 13-

14.8 For example, Hudson submits alternative inferences about the ability of the JWO

cameras in its stores to capture biometric data, like body geometry, face geometry, hand

geometry, and voice prints,9 due to factors like camera angles and product obstructions. Id.

Hudson similarly argues that other “common realities” like face masks and hats make


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          In support of its argument, Hudson attaches a transcript from a marketing video on
the JWO website, where an Amazon spokesman makes the convenient and conclusory
assertion in passing that JWO does not perform “facial recognition,” along with a
declaration from a private investigator, Motion at 2, 13; ECF 24-3 & 24-4; see infra n. 10.
Plaintiff does not cite the declaration in the Complaint, and the only mention of the JWO
website does not include a reference to the marketing video. Compl. ¶ 38, n. 32. The
“incorporation-by-reference-doctrine allows the Court to consider documents outside the
complaint on a motion to dismiss. . . [only] if the documents are referenced in the plaintiff's
complaint, are concededly authentic, and are central to the plaintiff’s claim.” See e.g., Ree v.
City of Chicago, 22 CV 4284, 2023 WL 3123761, at *4 (N.D. Ill. Apr. 27, 2023). “If the
connection between the attachments and the complaint is more attenuated,” as it is here,
“the court must ‘either convert the 12(b)(6) motion into a motion for summary judgment
under Rule 56, or exclude the documents attached to the motion to dismiss and continue
under Rule 12.’” Patterson v. Respondus, Inc., 593 F. Supp. 3d 783, 804 (N.D. Ill. 2022)
(citation omitted). The Court should thus exclude the declaration and transcript.
Alternatively, Plaintiff requests discovery on JWO’s technological capabilities. Fed. R. Civ.
P. 12(d).
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         Hudson conflates facial, hand, and voice recognition, which are technological
analyses that first require a separate collection of identifiers like facial and hand geometry
and distinctive voice attributes. BIPA prohibits collecting any geometric data or
measurements relating to an individual’s features, regardless of whether that data is
subsequently used to identify a specific person through facial, hand, or voice recognition.
See 740 ILCS 14/10. The “bottom line is that a ‘biometric identifier’ is not the underlying
medium itself, or a way of taking measurements, but instead is a set of measurements of a
specified physical component. . . used to identify a person.” Vance v. Amazon.com Inc., 525 F.
Supp. 3d 1301, 1312 (W.D. Wash. 2021). Therefore, Hudson cannot sidestep its BIPA
obligations simply by taking geometric scans of faces, hands, and collecting voice prints, or
those contained within images of shoppers’ bodies, and then anonymizing or aggregating
that data into some other form that it contends does not constitute facial or other
recognition—like the outline of a person—improper biometric collection still occurs.

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collecting facial biometrics from overhead cameras implausible. Id. at 2-3, 13-14. While

Hudson offers speculative reasons why the technology might have difficulty capturing

biometric data in certain situations, these are fact-based issues that cannot be properly

resolved on a motion to dismiss absent discovery, particularly when the representations

directly conflict with Plaintiff’s allegations. Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1100

(N.D. Ill. 2017) (explaining that while it is “conceivable” that what defendant is collecting

“does not fit within the definition of biometric identifier,” the plaintiffs’ allegations must be

taken as true at the pleading stage); see also Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d

899, 901 (7th Cir. 2004) (“Complaints need not contain any information” about possible

defenses “and may not be dismissed” because the defendant suggests “the presence of an

affirmative defense.” (emphasis in original)). The unsubstantiated possibility some shoppers

may evade biometric collection in rare circumstances does not mean that Hudson does not

regularly collect biometric data through JWO technology. The Court should reject Hudson’s

speculative, unsubstantiated, and untested representations concerning the JWO

technology’s ability to collect biometric data.

                                      V.     CONCLUSION

       Accordingly, the Plaintiff respectfully requests that the Court deny Hudson’s motion

to dismiss.




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Dated: February 15, 2024                   Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

       I, Justin N. Boley, hereby certify that on February 15, 2024, I electronically filed the

Response in Opposition to Hudson’s Motion to Dismiss using the Court’s electronic filing

system which will send such filing to all attorneys of record.

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